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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA


  INDIANA STATE CONFERENCE OF THE
  NATIONAL ASSOCIATION FOR THE
  ADVANCEMENT OF COLORED PEOPLE
  (NAACP) and LEAGUE OF WOMEN
  VOTERS OF INDIANA,

                        Plaintiffs,
                                                      Docket No. 1:17-cv-02897
                 v.

  CONNIE LAWSON, in her official capacity as
  the Indiana Secretary of State; J. BRADLEY
  KING, in his official capacity as Co-Director of
  the Indiana Election Division; ANGELA
  NUSSMEYER, in her official capacity as Co-
  Director of the Indiana Election Division,

                        Defendants.

                              DECLARATION OF OSCAR ANDERSON




                              DECLARATION OF OSCAR ANDERSON

         I, Oscar Anderson, hereby state, under penalty of perjury, that the following information

  is true to my knowledge, information, and belief:

  Personal Background and Position

         1.      I am the co-president of the League of Women Voters of Indiana. I have served in

  that capacity since 2017.
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            2.   In my capacity as co-president of the League of Women Voters of Indiana, I help

  coordinate the activities of our local leagues on a number of statewide matters. I communicate

  regularly with local leagues on their voter registration and voter education activities.

            3.   I am also a member of the Montgomery County League of Women Voters. Prior

  to becoming co-president of the state league, I was on the board of the Montgomery League and

  in charge of programs.

            4.   I first became involved with the league indirectly. Fifty years ago, when I lived in

  Chicago, my then-roommate’s mother was the past president of the Chicago League of Women

  voters. She first got me involved in registering people to vote. Although I could not join the

  League of Women Voters at that time, when I moved to Indiana five years ago I joined my local

  league.

  League of Women Voters of Indiana

            5.   The League of Women Voters of Indiana, founded in 1920, is a separately

  incorporated entity affiliated with the League of Women Voters of the United States, founded the

  same year. The Indiana League and its local affiliates are nonpartisan political organizations that

  encourage informed and active participation in government, and fight to improve our systems of

  government and to impact public policies. Local leagues have promoted this mission through

  citizen education and advocacy by registering voters, educating the public on voting rights and

  other public policy issues, and hosting events. We have also advocated for policies that support

  our mission and the public interest.

            6.   Ever since its inception, the main purpose of the League has been to encourage

  people to vote (including by registering them to vote), keep them informed as voters, and also




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  seek out information from candidates and public officials to serve the electorate and the

  citizenry.

         7.      The Indiana League is active throughout the state, with 23 local leagues (plus two

  more in the process of formation) and more than 1,300 members.

  League Voter Registration Activities

         8.      Indiana League members, primarily through our local leagues, have run voter

  registration drives since our founding. Registering voters is a core activity for the League. Voter

  registration is vital to our mission because the right to vote cannot be exercised if people are not

  registered.

         9.      I have been informed by local leagues that they have conducted at least 164 voter

  registration events and registered at least 3,200 voters since 2016. This understates the total

  number of voters we have registered because it does not reflect the registration drives of all of

  our local leagues, or voter registration events in which leagues assisted.

         10.     The League considers voter registration drives to be critical in ensuring voters get

  on the rolls. The league conducts drives at community events where League members are likely

  to encounter unregistered voters, such as art fairs and farmers markets. Local leagues plan

  registration drives by identifying the places where they might be able to reach the most people.

  The League especially tries register members of communities that typically have a more difficult

  time registering, such as students, the elderly, and members of minority communities.

         11.     League members typically use the federal voter registration form created by the

  National Voter Registration Act when registering voters. Laptop computers are often used to

  register voters and to check voter registration status. I know of at least one local league that has

  purchased a laptop for this purpose.




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          12.     When conducting registration drives, League members assist individuals in

  completing registration forms, collect the forms, and deliver them to election officials. League

  members do all of this, rather than simply handing out forms or giving completed forms back to

  voters to turn in themselves, because it ensures that form will be completed properly, and it

  ensures that the form will be turned in. It is the League’s experience that if you tell a voter to fill

  out and turn in a form on his or her own, it is less likely to be completed.

          13.     League members often ask for contact information from people whom they

  register to vote so they can follow up with them (with their permission) to make sure they vote or

  give them other information about elections.

          14.     League members regularly remind voters they have registered of upcoming civic

  events and elections. We do this to reduce the chance that voters we have registered will be

  prevented from casting ballots because of lack of information or problems due to registration

  mistakes or other errors.

          15.     Beyond organized drives, League members take any opportunity to register

  voters. For example, I frequently ask people if they are registered to vote. If a server at a

  restaurant asks me if I have any questions, I will answer, “Yes, are you registered to vote?” This

  type of non-stop civic engagement is typical of League members.

  Other League Voter Engagement Activities

          16.     The League also encourages voter engagement through community events it

  sponsors, such as candidate forums. At these events, candidates present information about their

  positions on issues. League members also use these opportunities to register voters.




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          17.     In the lead-up to elections and on Election Day, local leagues often participate in

  the League of Women Voters of the United States’ national “Vote 411” program, which provides

  voter assistance and information from candidates.

          18.     League members serve as observers in polling places. In this capacity, they ensure

  that lines are not too long and that voters are treated with respect and are able to cast ballots,

  especially the disabled or otherwise impaired.

          19.     The League has also advocated for policies that make it easier for eligible

  Hoosiers to cast ballots and otherwise reform elections. For example, the League has opposed

  unnecessarily strict voter identification requirements, advocated for longer polling place hours,

  lobbied for redistricting reform, and pushed for extended early voting opportunities.

          20.     The national League strongly supported the enactment and enforcement of the

  NVRA, including by testifying before Congress in favor of the bill. The League supported and

  continues to support the statute’s aims at increasing the number of eligible citizens who are

  registered to vote by providing reasonable, uniform, and nondiscriminatory voting procedures.

  Crosscheck Program

          21.     It is my understanding that under S.B. 442, passed last year, Indiana election

  officials will be using the Interstate Voter Registration Crosscheck program to remove voters

  from registration lists immediately, without notice, an opportunity for the voter to respond, or a

  waiting period. Voters who are purged in error will therefore have no warning or opportunity to

  correct the error.

          22.     I have heard numerous concerns about voters being purged. As a result of the new

  law, the League has already devoted resources to ensuring that voters are checking their




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  registrations to make sure they have not been purged. For example, we created a poster and a

  resource on our website encouraging voters to check their registration status.

         23.     I understand that voters could be removed using the Crosscheck program, and

  without prior notice, as soon as July 1, 2018. It is my opinion that purging voters immediately

  through the Crosscheck program would harm voters and interfere significantly with the League’s

  ability to boost voter engagement.

         24.     Because voters will be removed without prior notice, we will have no way of

  knowing in advance whether a League member will be removed from the voter rolls, which

  could happen shortly before the November 2018 elections. If they are removed in this time

  window, there will be very little time to correct errors. For League members, for whom civic

  participation and voter registration are core activities, the prospect of being removed from the

  voter rolls in this manner would be very alarming.

         25.     Because of the lack of notice that will accompany the removals, we also will have

  no way of knowing whether voters whom League members have registered will be removed

  from registration lists between July 1, 2018 and the election. It would defeat the entire purpose of

  registering eligible Hoosiers to vote if they were then erroneously deleted from the registration

  list. Because of the impending date of removal and the lack of notice given to voters or the

  public, there will be little time to correct mistakes even if they could be discovered.

         26.     In addition to direct voter removals, using the Crosscheck program in this manner

  will create problems at polling places which will frustrate the League’s efforts to ensure smooth

  and voter-friendly Election Day experiences.

         27.     I have served as both a League poll observer and an election judge. I have found

  that voters missing from the poll book is one of the most common problems on Election Day.




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  The Crosscheck purge could lead to more voters being missing from the poll book when they

  show up to vote.

         28.     If voters are missing from the poll book, they may not be allowed to vote ballots

  that count on Election Day. My experience is that when a voter is missing from the poll book, the

  voter may be required to cast a provisional ballot. The provisional ballot is extremely onerous for

  the voter. The voter must go through the additional time and hassle of filling out paperwork in

  order to cast a ballot. I have seen this process take up to an hour. If poll workers contact county

  offices to try to find information about voters, this can take even longer. If a voter is given a

  provisional ballot, the voter then has to do additional follow-up after Election Day to get the

  provisional ballot counted.

         29.     In my experience, the problem of voters missing from the rolls, and the

  provisional ballot process, which can take up to an hour per voter, typically takes up a lot of time

  for poll workers as well. The more experienced poll workers, the election inspectors and judges,

  typically have to handle these situations.

         30.     The delays in handling provisional ballots and other problems with voters missing

  from the poll book are passed on to voters. Because the more experienced election workers are

  dealing with the problem, there are fewer resources available for getting ballots to voters and

  keeping the lines moving. This will frustrate League poll observers and election judges’ goals of

  keeping the voting running smoothly.

         31.     If voters are purged erroneously and prevented from casting ballots because of

  problems at the polls, those problems cannot be remedied after Election Day. Even if the League

  could somehow identify voters they had previously registered who were then purged prior to the

  2018 election, and subsequently register them to vote again after November, those voters would




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  still have lost the opportunity to vote in 2018. When citizens are disenfranchised inappropriately

  and not able to participate, it diminishes the entire process and sullies the results, regardless of

  whether one agrees with the outcome of the elections.

         32.      In addition, combating the effects of an illegal voter purge months before the

  election will consume significant League resources. Any time League members spend addressing

  the risk of the voter purge by educating voters or re-registering purged voters takes away time

  and resources that could otherwise be spent registering voters or assisting voters with other

  purposes.

         33.      The League has limited time and money. We have one part-time staff member

  who is paid approximately $1,500 per year for limited work. The rest of the League’s work is

  done by volunteers. Our annual funding is typically less than $60,000, per year, primarily from

  member dues and donations. This budget, along with additional expenditures which League

  members pay for out of pocket, is almost entirely devoted to voter engagement activities. For

  example, we spend a large amount of money on printing and copying voter registration and voter

  engagement materials.

     34. Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury under the laws of the

               United States of America that the foregoing is true and correct.



                       8th day of March, 2018.
         Executed this ___



  _________________________________
  Oscar Anderson
  Co-President
  League of Women Voters of Indiana




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